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                              EXHIBIT A
Case 3:18-cv-17195-RK-JTQ Document 151-1 Filed 04/17/24 Page 2 of 5 PageID: 1816
      if~, J/1~ db ~~z.L dd. 1~
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              J),~, i~ .R}-~ 1 I
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                       13, QUAI ANATOLE-FRANCE, PARIS (7•)
                                      1958                                 ~




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                               DIDYMOTEICHON - DRAMA                             87
            p. 446). 4 (II, 490). 5 (II, 476). 6 (III, 290). 7 (I, 692).
            8 (III, 1000). 23 (II, 366). 24 (II, 367). 26 .(II, 567).
            28 (II, 87). 29 (II, 568). 30 (II, 477). 37 (II, 42:)). 42
            (II, 350). 97 (II, 367). 192 (III, 990). 230 (I, 139).
            236 (III, 756; 901). 240 (II, 367). 265 (II, 717). 280
            (III, 949). 368 (I, 408-410). 369 (II, 582). Gn ms. non
            cote (III, 221 ; 822). En 1916 ces mss ont ete enleves
            par les Bulgares, transportes a Sofia et· deposes ~
            l'Academie des Sciences ou, en 1918, A. Ehrhard a vu
            les codd. 5. 7. 28. 29. 37 et 280 (voir n. 41, t. I, p. LIV);
            A partir de la on perd leur trace. En 1923 la Grece
            n'en a recupere qu'un petit nombre, certainement les
            13 mss suivants : Athenes, Bihl. nat. 2396 ( = Kos.
            374). 2397. 2399. 2403. 2419 (=Kos. 280). 2484. 2487
            (=Kos. 236)1, 2504 (=Kos. 368). 2506 (=Kos. 369).                           •   J


            2517. 2579, 2635 (=Kos. 67), probablement cinq ou
            six autres (voir Serres) [Communication _de M. A.
            Guillou].
            Certains auraient ere vus a Prague en 1917 : voir
        327 S. B. KouGEAs, K&o1~ Tov mrrptKiov Laµoova, clans
      "     Byzanlinisch-neugriechische Jahrbiicher, t. V (1226-
            1927), p. 198. Sur un lot de 8 mss grecs, dont 3 au rp.oins
            provenaient de Kosinitza (codd. 32, 112 et 124), qui se
            trouvaient en 1920 aux mains du libraire Joseph Baer                                /

            de Francfort-sur-le-Main, voir n~ 41, t. I, p. xxxrx.
            Cinq ff. du cod. 16 figurent dans le cod. Bruxelles,
            Bibi. royale II, 2404 ; les codd. 32 et 112, mis en vente
        328 par Joseph Baer en 1924 (Catalogue n° 700: A Catalogue
            of One Hundred Fine and Valuable Books and Manus-
            cripts, Prints and Drawings, offered at the net prices
            affixtd by Joseph Baer and C0 , Francfort-sur-le-Main,
            1924, p. 13 s. ; 16-18), sont mai:µtenant a l'Universite
             de Princeton (codd. R. Garrett 14 et 16) ; une partie
            du cod. 53 est a New York, Pierpont-Morgan I,,ibrary
            MS. 714; le cod. 60 est a Durham (No,rth Carolina),
             Duke University 1 ; les codd. ~3 et 202 sont a Upsala
             (codd,. grecs 74 et 73); le cod. 124 est a Maywood,
             Theological Seminary of the Evangelical Lutheran

          1. Ce ms. 236 a ete vu a Kosinilza en 19d9 par Mattin Sprengling, qui l'a
       decrit pour A. Ehrhard. Ccpendant !'etiquette apposee par !es Bulgares en 1917
       indique que ceux-ci l'ont trouve a Serres.




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                         France. Institute of Research and History of Texts
                               Documents, Education, Directory, I

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                                 DIDYMOTEICHON - D RAMA                                     87
             p. 446). 4 (II, 490). 5 (Il, 476). 6 (III, 290). 7 (I, 692).
             8 (III, 1000). 23 (Il, 366). 24 (Il, 367). 26 (Il, 567).
             28 (II, 87). 29 (Il, 568). 30 (Il, 477). 37 (II, 425). 42:
             (II, 350). 97 (I, 367). 192 (III, 990). 230 (I, 139).
             236 (III, 756 ; 901). 240 (Il, 367). 265 (Il, 717). 280
             (III, 949). 368 (I, 408 -410). 369 (Il, 582). An ms. not
             listed (III, 221 ; 822). In 1916 these mss were taken
             away by the Bulgarians, transferred to Sofia and kept in
             the Academy of Sciences where, in 1918, A. Ehrhard
             saw the codd. 5. 7. 28. 29. 37 and 280 (see in. 41, t. I,
             p. LIV). No traces of them have ever been found again
             from there. In 1923, Greece recovered just a few
             numbers of them, certainly the 13 mss below: Athens,
             Bibl. nat. 2396 (= Kos. 374). 2397. 2399. 2403. 2419
             (=Kos. 280). 2484: 2487( = Kos. 236)', 2504 (=Kos.
             368). 2506 (=Kos 369). 2517. 2579, 2635) (= Kos. 67),
             certainly five or six others (see Serres) Communication
             of M. A. Guillou].
              Some others might have been seen in Prague in 1917: see
   327       S. B. KOUGEAS, foreign language, in foreign
             language, t. V (1226- 1927), p. 198. In a lot of 8 Greek
             mss, of which at least 3 came from Kosinitza (codd. 32,
             112 and 124), which in 1920 was in possession of the
             librarian Joseph Baer of Frankfurt- am main, see n;
   328       41, t. I, p. xxxix. Five ff. of cod. 16 appears in the cod.
             Brussels, Bib1. royal II, 2404 ; codds. 32 and 112, put
             up for sales by Joseph Baer in1924 (Catalogue n° 700 :
             A Galalogue o[ One Hundred Fine end
             Valuable Books and Manuscripts, Prints and
             Drawings offered at the net prices affixed by Joseph
             Baer and C°, Frankfurt-am main, 1924, p. 13 s. , 16-
             18), are presently at the University of Princeton (codd.
             R. Garrett 14 and 16); part of cod. 53 is in New York,
             Pierpont-Morgan Library MS. 714; cod. 60 is in
             Durham (North Carolina), Duke University 1; codds.
             93 and 202 are in Upsala (Greek cods. 74 and 73); cod.
             124 is in Maywood, Theological Seminary of the
             Evangelical Lutheran

          1. This ms. 236 was seen in Kosinitza in 1909 by Martin Sprengling, who described
      it for A. Ehrhard. However, the etiquette put up by the Bulgarians in l9l7 indicates that
      they found it in Serres.




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